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IN THE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

JAY NoLAN RENoBATo §
Po BoX 9771 §
THE wooDLANDs, TX. 77387 § CIVIL ACTIoN No.

PLAlNTIFF §
v. §

§ >JURY TRIAL DEMANDED<

BUREAU oF THE FIsCAL SERVICE § FED.R.CIv.P. 38 m
f.k.a. BUREAU oF THE PUBLIC DEBT § sum vacuum
401 14"‘ STREET Sw § mm""°*°"bm
wAsHINGToN, DC. 20227 § DEC, 2 8 m

I)EFENI)ANT §

PLAINTIFF’s oRIGINAL COMPLAINT, AND .¢M,,M
sTATEMENT oF CLAIM ~

TO THE HONORABLE UNITED STATES DISTRICT COURT:

COMES NOW ONE J ay Nolan Renobato (hereafter “Plaintiff,” “Claimant,” “Renobato,”
or “JNR”) appearing pro se, to enter, file, and docket the instant civil lawsuit against
Bureau of the Fiscal Service1 f.k.a. Bureau of the Public Debt (hereafter “Defendant,”
“Respondent,” “Bureau,” or “BFS/BPD”) in the United States District Court for the
Southern District of Texas pursuant to federal antitrust laws, and also Money and Finance
regulations compiled in United States Code and Code of Federal Regulations hereby
commencing this civil action for due affirmative relief in the form of money damages

` Reportedly Bureau of the Fiscal Service is a “new Bureau of the Treasury Department formed from the
consolidation of the Financial Management Service and the Bureau of the Public Debt” that started on
October 7 , 2012. (See fiscal.treasury.gov) Its purported “mission is to promote the financial integrity and
§ the operational efficiency of the U.S. government through exceptional accounting, financing, collections,
§ payments, and shared services.” (Ia'.) Formerly, Bureau of the Public Debt financed government operations,
3 accounted for the resulting public debt, and provided financial and administrative services to federal
agencies, whereas Financial Management Service supplied central payments, collections, and deposit
services for the federal government and prepared the financial statement for the federal govemment. (Id.)
By combining these responsibilities BFS proclaims it transforms the way the federal government manages
its financial services. Admittedly, Bureau of the Fiscal Service “borrows the money needed to operate the
federal government through the sale of Treasury bills, bonds and notes and accounts for the resulting debt.”
(See EXHIBITS- Al, A2, & A3 attached hereto, and see also FED.R.CIV.P. Rule 36(b))

 

 

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and/or equitable remedies, and to demonstrate and prove by the preponderance of the
evidence certain material economic terms as outlined in the following numbered
paragraphs (FED.R.C!V.P. Rules 3, 8(a), 10) Ultimately at stake in the instant controversy
is the very essence of the American way in an economic system of unbridled capitalism
in terms of perfecting competition and checking the integrity and efficiency in operation
of free trade and open market participation for all players in the money supply chain, plus
the commercial honor of the full faith and credit of the United States backing Treasury
Bill products or by-products as sold, issued, distributed and settled by Respondent Bureau.
(See e.g. United States v. Colgate & Co., 250 U.S. 300, 39 S.Ct. 465 (1919), Reeves Inc.
v. Stake, 447 U.S. 429, 100 S.Ct. 2271 (1980), accord Offl`cial Airlines Guide lnc. v. FTC,
630 F.2d. 920 (2nd Cir. 1980), cert. denied, 450 U.S. 917, 101 S.Ct. 1362 (1981))
INTRODUCTION
1. Jurisdiction and Venue. Jurisdiction is proper here, over both the persons and the
property, and rests on federal question, diversity, and amount in controversy basis. (28
U.S.C. Ch. 85) Venue in the Southern District of Texas is also proper because Harris
County Texas is the situs of where the action arose, where Plaintiff’s sole proprietorship
was started and conducts its arbitrage investment business, where the commercial
transactions took place, and as prosecutorial convenience requires (See 28 U.S.C. §
1391, and see e.g. Smilh v. Lummus, 149 Fla. 660, 6 So.2d 625)
2. Federal Question. This civil case is primarily brought and arises under United States
Code and Code of F ederal Regulations and culminates in Shennan Act and Clayton Act
(a.k.a. federal Antitrust law) charges against Bureau of the Fiscal Service according to

Chapter l of Title 15 Commerce and Trade, but begins with directly applicable statutes

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codified in Chapter 31 Public Debt of Title 31 Money and Finance, and the remaining
rules and Regulations Relating to Money and Finance promulgated under Title 31 Code
of Federal Regulations, in addition to compulsory actions under Chapter l Commodity
Exchange Ath ofTitle 7 Agriculture. (See 7 U.S.C. Ch. 1; 15 U.S.C. Ch. 1; 17 C.F.R. et
seq.', 31 U.S.C. Ch. 31; 31 C.F.R. Subtitle B; 31 C.F.R. §§ 357.10-12, 357.13', 28 U.S.C.
§§ 1331, 1337 1361; U.S. C()NST. art. 111, § 2, see also e.g. Exxon Shipping Co. v. Baker,
554 U.S. 471, 128 S.Ct. 2605, 171 L.Ed.2d 570 (2008), and Palmore v. United States,
411 U.S. 389, 93 S.Ct. 1670, 36 L.Ed.2d 342 (1973)) More expressly however, Title 15
United States Code stipulates that “any person who shall be injured in his business or
property by reason of anything forbidden in the antitrust laws may sue therefore in any
district court of the United States.” (15 U.S.C. § 15)
3. Diversity of Citizenship. The above captioned case is between citizens of different
States and names (i.e. identifies) the proper parties thereto. (28 U.S.C. § 1332) Plaintiff
Renobato is an arbitrageur by trade and natural person domiciled and maintaining a
business address at PO Box 9771 in The Woodlands, Texas 77387; whereas Defendant
Bureau of the Fiscal Service is a government agency and artificial person with
headquarters located at 401 14th Street SW in Washington D.C. 20227; and back office

‘ lnd1v1dual and property rights granted 1n the U.S. Constitutlon also govem. (U.S. CONST.) However,
neither Securities Act of 1933, nor Securities Exchange Act of 1934 are used as primary governing law
because the definition of “security” legislated thereunder doesn’t cover “any security issued or guaranteed
by the United States” govemment, and specifically excludes “currency or any note, draft, bill of exchange,
or banker’s acceptance which has a maturity at the time of issuance of not exceeding nine months” from
what constitutes a security. (See 15 U.S.C. §§ 77c(a), 78c(10) 780(42), and Sinva v. Merrill Lynch Pierce
Fenner & Smilh Inc., (SDNY1966), FED.SEC.L.REP. 1966-1967 CCH Dec. 1191,870) The T-bills at issue in
this case have a three month maturity. (Record.) Throughout the text of this document; the terms bills,
notes, and bonds are generally speaking collectively referred to as “govemment securities,” and from time
to time may be called “Freedom Shares,” or “Zeros” (e.g. Treasury Investors Growth Receipt (‘TIGR’), or
Certificate of Accrual on Treasury Securities (‘CATS’). (See 31 C.F.R. Part 321, and see e.g. FINRA

Complaint Form 4530'. Product Code 3) Also, Title 17 Code of Federal Regulations labeled Commodity
and Securities Exchanges applies directly or indirectly, and is referred to periodically herein. (17 C.F.R.)

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operations at 200 Third Street in Parkersburg, West Virginia 26106 and in other States

a. Plaintiff. Texas resident Renobato is registered owner (i.e. entitlement holder)
of the relevant TREASURYDIRECT® Account and is also owner of the personal property (i.e.
90-day T-bills) at issue in this case. (Record.) Plaintiff’s standing to bring suit is founded
on certain property ownership, account, and transactional facts described herein. (See
infra.) Prosecution claims Defendant encroached on Renobato’s securities entitlement
rights (i.e. denominational exchange options) on 90-day T-bills beneficially owned over
the course of fiscal years 2016 and 2017 as identified, accounted for, and evidenced
hereinafter. (See Strawbrz'dge v. Curtiss, 7 U.S. (3 Cranch) 267, 2 L.Ed. 435 (1806))

b. Defendant. The Washington D.C. Bureau of the Fiscal Service is definitively
the proper party to be charged with “transactions after issue,” whereas the U.S. Treasury
and Federal Reserve are not proper parties (See 31 C.F.R. § 306.1(b), but compare 31
C.F.R. § 357.23) At the same time, Bureau of the Fiscal Service is statutorily amenable to
law for its violations, omissions, or failures to follow the underwriting terms of the 90-
day T-bill offering circulars (31 C.F.R. § 321.15), for accepting tenders (i.e. “bid”) and
processing transaction requests (i.e. “ask”) (31 C.F.R. § 356.11), and also for its
performance in entering autocharge delivery and payment routing instructions relating to
government securities (31 C.F.R. Part 356; FED.R.CIV.P. Rule l7(b)) More, prosecution
asserts that Respondent acted intentionally at all times relevant hereto, that is to say;
knowingly, purposely, recklessly, or negligently with regards to its capital market duties
of ensuring appropriate T-bill dividend distributions are made. (FED.R.CIV.P. Rule 17)
4. Amount in Controversy. The amount of actual damages accounted for in this lawsuit
is well in excess of the $75,000 threshold amount, exclusive of interest and costs. (28
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U.S.C. §§ l332(a), 1337) Furthermore, legal relief is afforded for lost, stolen, destroyed,
mutilated, and/ or defaced obligations as are identified and numbered (i.e. serialized)
herein. (See 31 U.S.C. § 3125, and LeBlanc v. Spector, 378 F.Supp. 301 (D.Conn.1973))
5. Venue. As convenience dictates, the federal district court for the Southern District of
Texas has sufficient authority over the subject matter and the parties to legally adjudicate
the controversy because the SDoT is at the nexus of where Plaintiff’ s company is found,
where all of the government securities were purchased, and where a substantial part of
the interactions between the public customer investor and fiscal service agency giving
rise to the complaint occurred de facto. (28 U.S.C. §§ 124(b), 1391; 31 C.F.R. § 306.100)
BACKGROUND
6. Bona fide arbitrage STRIPS TRADES. The pervasive commercial subject woven
throughout the bulk of this case is Plaintiff s lawful exercise of securities entitlements
and use of denominational exchange provisions in current Treasury laws pertaining to
money and finance regulations in the contractual “purchase” and “sale” of government
obligations in interstate commerce netting capital gains (i.e. [lost] profits) sought to be
secured and/or recovered by this action brought principally for money damages3 (R.)
Briefly over the past two (2) years Plaintiff, whose repurchase instructions on Form 3905
were failed to be followed by Defendant causing economic inj ury, bought and sold

twenty-three (23) 90-day Treasury bills [Series 912796] in cash forward trades generating

:' Most repurchase agreements (i.e. a sale and forward repurchase of a security, or a secured financing) are
documented by a writing such as a Master Repurchase Agreement as published by the Public Securities
Association (‘PSA’). (PSA- 40 Broad Street, New York, NY. 10004) With regard to the characterization of
a repurchase transaction, the PSA Master Repurchase Agreement provides that: ( l) the parties intend that
all repurchase transactions under the agreement be “sales” and “purchases,” and not “loans,” and (2) in the
event any such transactions are deemed to be “loans,” the seller (a) shall be deemed to have pledged to the
buyer as security for the performance by the seller of its obligations under each repurchase transaction, and
(b) shall be deemed to have granted the buyer a security interest in, all of the securities purchased pursuant
to the repurchase transactions between buyer and the seller under the agreement and all proceeds thereof.

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millions of dollars in gross revenue on paper for the arbitrage business of such beneficial
owner, and simultaneously producing millions of dollars in mint seignorage to the benefit
of the Department of the Treasury and/or any number of its subsidiary entities (i.e. BFS,
BPD, BEP, US Mint, Fed, IRS, etc.). A detailed itemized listing of the transactional facts
are contained at the end of this pleading as EXHIBITS reflecting fiscal years 2016 and
2017 respectively. It should be denoted that strictly speaking, the securities industry trade
secret notions of: securities haircuts, sales against the warrant box, and participant
hypotheticals- for purposes of simplicity under Federal Rules of Civil Procedure Rule
8(e)(1), will not be cited in this or later writing of prosecution, or unless requested to do
so by the Court. (12 C.F.R. § 220.6(b); 17 C.F.R. §§ 240.15c3-l, 402.2; 31 C.F.R. Part
357 App. B(J.); Federal Reserve Regulatory Service (“FRRS”) Reg T (Rulings and
Opinions) Transmittal 184 (6/96) “SHORT SALES: Against the Box; Warrant Box;”)
LEGAL DESCRIPTION OF PROPERTY
7. 90-day [13-Week] Treasury bills. Treasury bills are bearer obligations of the United
States promising to pay a specified amount on a specified date, and are payable at
maturity upon presentation to Bureau of the Fiscal Service. (31 C.F.R. § 309.2) The
Secretary of the Treasury issues certificates of indebtedness of the Government and/or
Treasury bills of the Government for amounts borrowed on the full faith and credit of the
United States4 (31 U.S.C. § 3104(a)) Treasury securities are made available for public
subscription in the open market as offered, sold, issued, and/or distributed by Bureau of

the Fiscal Service. (31 C.F.R. § 306.1(a); 12 U.S.C. §§ 263, 283) Moreover, the Secretary

‘ Article l Section 8 of the U.S. Constitution empowers the government to borrow money on the full faith
and credit of the United States, and to pay its debts, whereas the 14“‘ Amendment declares the public debt
shall not be questioned (U.S. CONST. art. l, § 8, amend. XlV, § 4) The power of the government to coin
(i.e. manufacture/print) money is embedded in U.S. law. (U.S. CONST. art. I, § 8[5]; 31 U.S.C. Ch.51)

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through the Code of Federal Regulations prescribes conditions for issuing such
certificates or bills and the conditions under which the certificates or bills may be
redeemed before maturity. (31 U.S.C. § 3104(b); 31 C.F.R. Parts 306, 309) Treasury bills
are issued in various thousand dollar amounts including denominations of $1,000,
$10,000, $15,000, $50,000, $100,000, $500,000, and $1,000,000; whereas statutorily
“exchanges from higher to lower and lower to higher denominations of the same
series will be permitted at the Bureau of the Fiscal Service.” (31 C.F.R. § 309.3) ln
issuing such obligations under Title 31 United States Code- Money and Finance, the
terms for issuance, public offering and/or subscription, prices, principal and interest rates,
payment dates, as well as form and denomination of the obligations is set or fixed
according to Title 31 Code of Federal Regulation sections (31 U.S.C. §§ 3121, 3123; 31
C.F.R. et seq.) More particularly, within the STRIPS TRADES programs of the
Department, 90-day T-bills are composed of two elements, namely; (l) an “interest only”
(‘IO’) coupon or tinl , and (2) a “principal only” (‘PO’) bill or corpus, representing the
interest bearing and discount bases upon which original issue T-bills are offered or sold.
(31 C.F.R. § 309.1) The Separate Trading of Registered lnterest and Principal Securities
(‘STRIPS’) tint component is stripped from and paid at issuance of the zero coupon bill,
and upon maturity of the 90-day term the principal only corpus is paid via electronic
credits or by physical dollar bills5 as routed through the Treasury Reserve Automated
Debt Entry System (‘TRADES’). (31 C.F.R. §§ 356.2, 357.0) The identified personal

' The obvious difference between the appropriateness of using mere electronic bank credits versus actual
underlying physical dollar bill assets in delivery and settlement of the referenced transactions is whether the
TRADES are defined as a “f`orward” or “futures.” (See e.g. In the Matter of The Siegel Trading Company
(CFTC 1984), COMM.FUT.L.REP. 1986-1987 CCH Dec. 1122,905 (citing United States v. Winograd, (CA
71981), COMM.FUT.L.REP. 1980-1982 CCH Dec. 1121,234) This case does not take up the issue of whether
or not Claimant had opportunity to trade the T-bills stripped IO components, however such tim refund
payments are accounted for, and itemized in an EXHIBIT to this pleading (See EXHIBITS- Ll & L2 below.)

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property, res, or subject matter on which this case is couched are notes, bills, or bonds
manufactured inside the Department of the Treasury but are sold, issued, and distributed
by BFS, however Renobato is the registered owner and creditor on such financial
instruments and subscribes to such capital stock by affirmative regulations in the public
interest (7 U.S.C. § 5', 12 U.S.C. § 283) Note, the overlying option (i.e. securities haircut/
marginal cost) required on a securities position held or carried for a dealer trading for his
own account is $1,000, whereas the corresponding standardized contract size for 90-day
Treasury bill instruments is $l ,000,000, realizing also the cost of the fungible underlying
physical asset (i.e. dollar bills [regardless of denomination]) is 0.04¢ per unit. (See
EXHIBITS- B & C attached hereto.) In sum, Claimant’s reverse repurchase agreements
formed as sales against the warrant box (i.e. writing covered calls) in cash forward bona
fide arbitrage T-bill STRIPS TRADES in interstate commerce that Bureau is attempting to
monopolize by fixing prices and its concerted refusal to deal are redressed by damage
adjustments in bill valuation of this case. (See 17 C.F.R. §§ 240. 15c3-l, l6e-l, 402.2; 12
C.F.R. § 220.6(b);1n re Riggle ’s Will, ll A.D.2d 51, 205 N.Y.S.2d 19; and EXHIBIT- D.)
STATEMENT OF CLAIM
8. Case (U.S. CONST. Amend XIV Sec. 1, Amend IV). This part commences the
formation of an adverse claim against Bureau of the Fiscal Service that Renobato has a
demonstrable property ownership interest in 90-day T-bill “securities”[sic], and that it is
a violation of the rights of Claimant for Defendant to withhold exchange, or to deal with
Form 3905 (i.e. “free-riding” NASD Manual- Rule IM-21 10-1, FINRA Complaint Form
4530: Problem Code: 00). (31 C.F.R. §§ 306.10, 357.2) Accordingly, prosecution hereby
affirmatively avers and will prove in the course of this proceeding that Defendant
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intentionally perpetrated technical acts of conversion (i.e. the exercise of dominion and
control over the property, but not to convert the property), trespass to chattel (i.e.
interrneddling in personal property of another), refusals to deal (i.e. passive market
making), and false pretenses (i.e. that seriously interfered with ability of owner to control
the property thereby causing damages to Plaintiff) all as illegal state action. (FED.R.
CIV.P. Rule 8(a)) Claimant, in support thereof, now begins to introduce relevant evidence
in establishing certain factual matters that are requested to be admitted without question.
9. Account (31 C.F.R. § 357.20). Primarily, the most key fact here is that Jay Nolan
Renobato is the registered individual account owner of TREASURY DIRECT® Account
number R-l92-092-757. (See 31 C.F.R. § 357.21, and see EXHIBIT- E incorporated
herein.) The registration of said natural person on the “ManageDirect >> Registration List”
title records of the Treasury as JNRenobato (***-**-1412) in his own right, is actual
conclusive ownership of the Treasury bills by law, and does not include any restriction
whatsoever of owner JNR to dispose of the securities “in any manner” [emphasis added].
(31 C.F.R. §§ 306.10, 306.1 l(a)(l)) As such, this fundamental truth yields firm ground
on which to form, maintain, and carry forward legal claims made herein against Bureau.
10. Debt (31 U.S.C. § 3104, 31 C.F.R. § 309.2, 12 U.S.C. § 221). More commonly
referred to as indebitatus assumpsit, TREASURYD/RECT® Account owner / entitlement
holder Renobato claims that such 90-day T-bills held of record by Claimant are indeed
certificates of indebtedness or obligations flowing from Treasury Reserve Automated
Debt Entry Systems, payable by or through Bureau of the Fiscal Service Division of
Customer Service who is the entity responsible for entering appropriate price data

concerning the “purchases” and “sales” of the TIGRS. (See 31 U.S.C. § 3104, 12 U.S.C. §

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221, 31 C.F.R. Part 357, and see also Note 2 above.) Applicable 90-day T-bill issues in
this case appurtenant to the adverse claim of debt owed by Respondent to Claimant are
segregated by fiscal year, are further identified by the following serial (i.e. CUSIP) numbers;
and were to be safe-kept by BFS. (See Interstate Comm. Com ’n v. Brimson, 145 U.S.
447, 14 S.Ct. 1125, 38 L.Ed. 1047, and Dukes v. Rogers, 67 Ga.App. 661, 21 S.E.2d 295)

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912796HK8, 912796GH6, 912796GN23(,)19612796GS2, 912796GW3,

912796JG5, 912796JL4, 912796JQ3, 912796JU4, 912796HU6,

912796KA6, 912796KDO, 912796KG3, 912796JEO, and 912796KP3

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912796KQ1, 912796KU2, 912796LA5, 912796LF4, 912796LL1,

912796LQO, 912796LU1, and912796LY3
These derivative freedom shares were lawfully purchased or acquired by Plaintiff at
government auctions that are conducted every Monday as administered by Bureau of the
Fiscal Service through its TREASURYD/RECT® website. (31 C.F.R. §§ 306.l(a) 309.1, 357.0)
Renobato’s cash forward stop loss orders maximizing profits in the future spot market for
the CATS are listed in Treasury claim Form 1025 , and customary (“IRS”) Schedule D
Capital Gains Form 8949 formats (See 26 U.S.C. § 1201, EXI-IIBITS- Kl & K2 attached
hereto, Comrnissl`oner of Internal Revenue v. Rowan Drilling Co., C.C.A.Tex., 130 F.2d
62, and Transactive Corp. v. United States, 91 F.3d 232 (D.C. Cir. 1996))
11. Form 3905 Use (31 C.F.R. §§ 306.1(b), 306.15(a)). Pursuant to current regulations
Bureau of the Fiscal Service is legally responsible for executing certain “fiscal services”7
and/or “transactions after issue,” such as transaction requests, transfers, denominational
exchanges, and reissues of U.S. Securities (31 U.S.C. § 306(a), 31 C.F.R. § 306.l(b))
ma TREASURY D/Ri_=cr® “Buy Direcr® » Purchase Review,” a “Buy Direcr »

Confirmation,” a JNR transaction request cover letter, and a Form 3905 contract, such as EHXIBITS- F & H,
for each of the 23 T-bill issues listed, all of which will be requested admitted into evidence in due course.

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Instructions for the issuance and delivery of the new securities are to be signed by the
owner, must accompany the securities presented, and are to be written on Form PD 3905
or Form PD 1827 as appropriate and shall be used. (31 C.F.R. § 306.15) Such Form 3905
(i.e. franchise contract) or Form 1827 are in fact the official documents prescribed by law
for issuing transaction requests concerning the exchange, transfer, reissue, redemption
exchange, repurchase, and/or payment of government securities in compliance with
applicable laws (FED.R.CIV.P. Rule 9(d)) ln accord therewith, Plaintiff trusted federal
regulation 31 C.F.R. § 306.15 and detrimentally relied on use of Form 3905 to instruct
execution of the denominational exchange STRIPS TRADES accounted for in this case.
CIVIL COMPLAINT
COUNT I
31 C.F.R. § 309.3
12. Broken Denominational Exchange Promises. The transfer, exchange, reissue or
other transaction requested in transferable registered securities is lawfully made in
accordance with Subpart F of Part 306 in Title 31 Code of Federal Regulations. (31
C.F.R. Part 306) Transferable registered securities are eligible for denominational
exchange at any time but must be received before the due date on which the securities
mature. (31 C.F.R. §§ 306.15, 357.28, 357.29) As applied to this case, the listed T-bill
issues identified in Treasury Series 912796 bearing mixed letter tail CUSIPS: HK8, GH6,
GN3, GSZ, GW3, JG5, JL4, JQ3, JU4, HU6, KA6, KDO, KG3, JEO, KP3, KQl, KU2,
LA5, LF4, LLl, LQO, LUl, and LY3 each had a transaction request issued by JNR
written on Form 3905 and same was received by BFS before the maturity date thereof as

depicted in the following Table: (See also EXHIBITS- J l & J2 attached hereto.)

‘ “Fiscal service” is a service inside the Department of the Treasury. (31 U.S.C. § 306(a)) Fiscal services
neglected by BFS/BPD are long overdue, regardless of the forward nature of the hybrid
securities/commodities warrants The terms “security” and “commodity” or their derivative forms are used
interchangeably throughout this writing. (See e.g. SEC v. W.J, Howey & Co.,328 U.S. 293 (1946))

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FORM 3905 Instructions [912796 Series]

T-bill JNR BFS/BPD Redemption Payment
Iisu_e Dispatch Receipt Due Date
HK8 2/19/16 2/23/16 4/7/16
GH6 3/14/16 3/17/16 4/26/16
GN3 4/8/16 4/12/16 5/26/16
GSZ 5/5/16 5/10/16 6/23/16
GW3 6/6/16 6/10/16 7/21/16
JG5 7/7/16 7/15/16 8/25/16
JL4 8/5/16 8/11/16 9/22/16
JQ3 9/2/16 9/8/16 10/20/16
JU4 10/1/16 10/7/16 11/17/16
HU6 10/21/16 10/24/16 12/8/16
KA6 11/12/16 11/16/16 12/29/16
KDO 12/2/16 12/7/16 1/19/17
KG3 12/23/16 12/30/16 2/9/17
JEO 1/12/17 1/19/17 3/2/17
KP3 2/2/17 2/6/17 3/23/17
KQl 2/17/17 2/21/17 4/6/17
KU2 3/16/17 3/20/17 5/4/17
LAS 4/13/17 4/17/17 6/1/17
LF4 5/12/17 5/15/17 6/29/17
LLl 6/9/17 6/12/17 7/27/17
LQO 7/7/17 7/10/17 8/24/17
LUl 8/4/17 8/10/17 9/21/17
LY3 9/5/17 9/8/17 10/19/17

 

As a result, upon receipt of Form 3905, since BFS had ample time to process and handle
the transaction requests electronically in a situation where the customer sells a security
through or to a securities intermediary, BFS did then and there break its promises to make
denominational exchanges of Plaintiff’s T-bills, and did so in the following fashion:

a. Formation. The way the contracts of purchase and contracts of sale were
constructed is by writings for the sale of articles, financial instruments or goods valued at
$500 or more. (U.C.C. § 2-201) The purchase orders for the T-bill instruments are
illustrated in what TREASURY D/RECT® refers to as a “Buy Direct® » Purchase Review”
document, and a “Buy Direct » Confirmation” form (f.k.a. Form 5381), whereas the sell
orders are statutorily required to be written on Form 3905 or Form 1827. (17 C.F.R. §

240.10b-10; 31 C.F.R. § 306.15) Evidence illustrating the “purchase” and “sale”

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contracts surrounding issue 912796HK8 and the Treasury Auction Announcement and
detailed Treasury Auction Results for HK8 are contained herein, and same or similar sets
of such papers are maintained and are available for each of the 23 transaction requests
drawn on the identified bills (See EXHIBITS- Fl, F2, F3, & F4, and compare EXHIBITS-
Gl, G2, & G3, and see also EXHIBITS- Hl, H2, H3, & H4, and compare EXHIBITS- Il,
12, & 13 attached hereto.) Confirmation of formation in the purchases and sales of the 90-
day T-bills is therefore undeniable, albeit such $1,000 bid and $l,000,000 ask amounts
are miniscule SOES in comparison to, for example, the $28,000,000,000 gross offering
amount for 912796HK8 T-biiis due 7 Apr112016.8(17 c.F.R. § 240.10b_10)

b. Performance. The performance due from the Bureau in execution of the
contract of purchase is to register the title ownership, quantity, price, payment dates, and
serial numbers for the customer’s account; whereas the performance due in execution of
the contract of sale is the entering of the market price, due date, serial number, and
payment terms respecting the completion of the transaction. (31 C.F.R. §§ 357.22,
357.28; 12 C.F.R. §§ 220.2, 220.6) Here, Respondent breached its performance due by
failing to follow the specific instructions for disposition of the securities contained on
Form 3905 in the clearance, settlement, and “completion of the transaction” of the
TRADES due 4/7/ 16 for HK8, due 4/26/ 16 for GH6, due 5/26/ 16 for GN3, due 6/23/ 16
for GSZ, due 7/21/ 16 for GW3, due 8/25/ 16 for JG5, due 9/22/ 16 for JL4, due 10/20/ 16
for JQ3, due 11/17/16 for JU4, due 12/8/16 for HU6, due 12/29/16 for KA6, due 1/19/17
for KDO, due 2/9/ 17 for KG3, due 3/2/ 17 for JEO, due 3/23/ 17 for KP3, due 4/6/ 17 for

` As previously stated, these repurchase transactions are to be deemed: “purchases” and “sales” as defined
in the Exchange Act; wherefore the terms “buy” and “purchase” each includes any contract to buy,
purchase, or otherwise acquire, whereas the terms “sale” and “sell” each include any contract to sell or
otherwise dispose of. (15 U.S.C. §§ 780(13) 78c(14)) At this point, it should be noted that the difference
between the ‘bid’ and ‘ask’ is known as the ‘spread’ in commodities/securities industry parlance.

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Negligence is the failure to use such care as a reasonably prudent and careful person
would have exercised under the same or similar circumstances and is also conduct that
falls below the standard established by law for the protection of others against
unreasonable risk of harm. (See e.g. Amoco Chemical Corp. v. Hill, Del.Super., 318 A.2d
614; and United States v. Ohio Barge Lz'nes Inc., 607 F.2d 624) As such, Defendant’s
negligent clearance in the continuous net settlement (i.e. transfer and payment DVP/COD)
of Treasury bills notes and bonds held in TRADES that is required to be easy (i.e. “EZ”)
per Treasury security regulations is now broken down. (31 C.F.R. § 321 ; NYSE Rule133)

a. Duty. Federal law establishes a national system for the clearance and
settlement of securities transactions whereas industry custom recognizes a clearing
obligation in the relationship between public customer investor Plaintiff and government
securities intermediary Defendant for the prompt and accurate clearance and settlement
of securities transactions including the transfer of record ownership and the safeguarding
of securities and funds related thereto. (15 U.S.C. § 78q-1 et seq., e.g. NASD Rule 3230)

b. Standard of care. The statutory “EZ Clear” standard of care for comparison,
reconciliation, and settlement of contracts in government securities is solely in the hands
of the Bureau of the Fiscal Service Division of Customer Service. (31 C.F.R. § 321 . 1)

c. Breach. Respondent did not make, much less complete appropriate clearance,
transfer, and redemption exchange of Plaintiff’ s T-bills easily (i.e. “EZ”) as required by
law to be efficient for reduction of risk, but instead hindered, interfered with, or obstructed

making full settlement payments due as specified in Paragraph 12 above. (See supra.)

monitoring the issuance of such securities registering the transfer of such securities exchanging or
converting such securities and/or transferring record ownership of securities by bookkeeping entry without
physical issuance of securities certificates (See e.g. 58 Fed.Reg. 5587 at 5591 (January 22, 1993))

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d. Cause in fact. Defendant’s negligent processing of the T-bill transaction
requests from the time such disposition instructions were received by Defendant, to when
such redemption payments came due, directly links conduct in Defendant’s facility to its
failure to perform “EZ Clear” services as a clearing or transfer agent in the money supply
chain, thereby causing capital gain profits to be lost, destroyed, or defaced from T-bills
that were mutilated by Respondent’s mishandling thereof. (See 31 C.F.R. Part 357 App.
B(J.); NYSE R 223, and Hayes v. Railroad Co., 111 U.S. 228, 4 S.Ct. 369, 28 L.Ed. 410)

e. Proximate cause. But for BFS’s nonfeasance, misfeasance, or malfeasance in
entering the appropriate number of zeros (i.e. “000”) for Renobato’s TRADES on the
books of the Treasury (i.e. into the automated debt entry computer system), and its
corresponding refusal to deal with arbitrage player Renobato’s transaction requests
legally submitted within variable price limits on Form 3905 is seen in its recording of
erroneous market price data and entry of false contract of sale data on the TRADES-
amounting to illegal passive market making and directly causing Plaintiff’s economic
injuries (See 17 C.F.R. § 240-10b-6A, and Ins. Co. v. Boon, 95 U.S. 117, 24 L.Ed. 395)

f. Damage. The damages caused by Respondent’s clearing nonfeasance,
misfeasance, or malfeasance in transacting such 23 STRIPS TRADES instructions of
Claimant has caused substantial pecuniary damages to Renobato without question.

COUNT III
31 U.S.C. § 306, 31 C.F.R. Part 306, Part 309
14. Fiscal Service Fraud. To restate, fiscal service is a definite and certain service inside
the Department of the Treasury. (31 U.S.C. § 306(a)) And again, the Bureau of the Fiscal
Service is the governmental entity that is statutorily responsible for performing such

“transactions after issue” (i.e. fiscal services) within the Treasury. (31 C.F.R. § 306.1(b))

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61 L.Ed. 419) Furthermore, for defense to argue that the material economic terms are
something other than the fact that the securities haircut (i.e. overlying option) required on
a Treasury securities position held or carried for a dealer trading for his own account is
$1,000 (established by law), or that the standardized contract size for 90-day Treasury
bill instruments is not $1,000,000 (established by industry custom), that the cost of the
underlying physical asset (i.e. dollar bills [regardless of denomination]) is 0.04¢ per unit
(established by independent research), or that the transactional facts are not as put
forward in Schedule D for 2016 and 2017 would be to deceitfully introduce economic
falsehoods to this Court and can not be permitted (See 17 C.F.R. § 240.15c3-1; 17 C.F.R.
Part 402 et seq.; and see EXHIBITS- B, C, D, E, Jl & J2 attached hereto.)

c. Economic damages Therefore, the fungibility fraud and/or price reporting
deceit perpetrated on part of the Bureau’s Division of Customer Service is seen in its
recording, registering, or reporting on contract of sale prices for Renobato that are not
true and bona fide prices from Form 3905 instructions The illegal acts of Bureau’s
misrepresentations occur when it enters erroneous market price data into the
electronically linked money supply chain combining Treasury, Federal Reserve and open
market participant Plaintiff’s commercial deposit account thereby causing holder several
economic injuries on the serialized T-bills. Constitutionally speaking, Plaintiff has the
inalienable right to conduct his legitimate business for profit, under usual laws of supply
and demand, without undue government interference (See Lafayette Dramatic
Productions v. Ferentz, 9 N.W.2d 57, 305 Mich. 193, Holder v. Maaco Enterprz'ses, 644

F.2d 310 (4'[h Cir.1981), Clearview Concrete Products v. S. Charles Gherardi Inc., 453

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N.Y.S.2d 750 (App.Div.1982), and College Aux. Servs. of State Univ. College at
Plattsburg Inc. v. Slater Corp., 456 N.Y.S.2d 512, (App.Div. 1982))

COUNT IV

7 U.S.C. § 6a
15. Excessive Speculation. The cited Commodity Exchange regulation was enacted by
the legislature in order to prevent economic evils of manipulated, controlled, cornered, or
squeezed markets (i.e. “excessive speculation”), where a national public interest in
interstate commerce trading of commodities (i.e. securities) as carried on by businesses
engaged in the buying and selling thereof, is present (7 U.S.C. § 5) According thereto,
the Bureau’s placing of limits on the market prices of trades on the on the amounts of
trading volume which may be done, or on the amount of net long positions which may be
held by any person is wrong unless it comports with Treasury regulations (31 C.F.R. §§
356.13, 357.22) More particularly, forcing creditor Claimant as a public investor, after
the acquisitions of HK8 on 1/4/16, GH6 on 1/25/16, GN3 on 2/22/16, GS2 on 3/21/16,
GW3 on 4/18/16, JG5 on 5/23/16, JL4 on 6/20/16, JQ3 on 7/18/16, JU4 on 8/15/16, HU6
on 9/6/16, KA6 on 9/29/16, KDO on 10/17/16, KG3 on 11/7/16, JEO on 11/28/16, KP3 on
12/19/16, KQl on 1/3/17, KU2 on 1/30/17, LA5 on 2/27/17, LF4 on 3/27/16, LLl on
4/24/17, LQO on 5/22/17, LUl on 6/19/17, and LY3 on 7/17/17 to enter speculative
naked long positions in government security bills backed by the full faith and credit of
the United States and use a hold ‘til maturity trading strategy in the relevant Treasury
issues has caused sudden and/or unreasonable market fluctuations in the standardized
$l,000,000 contract size for 90-day T-bills, and baseless changes in the market price of
such security to the detriment of the market participant trader, and in doing so has put an

undue burden on interstate commerce, and has imposed unnecessary costs on investor. (7

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U.S.C. § 6a(a)) Therefore, this regulation is applied in order to protect commerce by
facilitating the transfer (i.e. movement) of Renobato’s T-bill arbitrage in interstate
commerce as a means of commercial risk reduction against possible loss through
unwarranted fluctuations in prices (See 31 C.F.R. § 357.22, 31 C.F.R. Part 321 Subpart
D, and e.g. CFTC Stajj‘Study, COMM.FUT.L.REP., 1975-1977 CCH Dec. 1120,027) With
the aforementioned restriction of the sales (i.e. repurchase) price to $1,000 par value, and
imposing production limits on the availability and/or cost of underlying dollar bill by-
products, BFS has perpetrated the technical act of price fixing per se. (See Joyce, Ejj‘"ect
of F irm Organization Structure on Incentive to Engage in Price Fixz'ng, 7 Contemp.
Policy lssues 19 (1989) (importance of auction markets as facilitating collusion)) The
truth is that individual Renobato; (l) has not exceeded position limits by carrying no
more than $4,000 in net long haircuts at any one time- covering 25 ,000 units of
underlying bill assets per haircut, and generating anywhere from $25,000 to $2,500,000
in variable unit pricing production per cut depending on denomination, (2) has not
exceeded the $1,000,000 position limit enacted by the industry’s standardized contract
size for 13-week T-bills or on the face of the Form 3905 contract itself, and (3) has legal
right to exercise exchange choices through unsolicited arbitrage TRADES to make capital
gains and as creditor thereon does not have to be forced to accept unlimited risk of loss
by not incorporating exercise of exchange options into trading activities (See 17 C.F.R. §
240.10a-2, 31 U.S.C. § 3101, 31 C.F.R. 315.10, Nobleman v. American Savings Bank,
508 U.S. 324, 113 S.Ct. 2106, 124 L.Ed.2d 228 (1995), Associates Commercial Corp. v.
Rash, 520 U.S. 953, 117 S.Ct. 1879, 138 L.Ed.2d 148 (1997), and e.g. NYSE Rule 116

Stop Constitutes Guarantee, NYSE 235 Ex-Rights) Thus, by forcing Claimant to face

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pure naked long speculation (buying a security with hope that price increases) without
use of options (i.e. rights) exercised on the 90-day T-bill TRADES (that is to say limiting
Claimant to hold ‘til maturity at same $1,000 strike price and forego participation in the
variable strike price exchange offer afforded under regulation statements in CFR), BFS
has violated the prohibition on excessive speculation under United States Code. (See
Rivers v. Rosenthal & Co., 634 F.2d 774 (CA 5(Ga.)1980), Moody v. Bache & Co. Inc.,
570 F.2d 523 (5th Cir.l978), and Citizens United v. Federal Election Committee, 558
U.S. 50 (2010) [“limiting money is like limiting speech”])
COUNT V

7 U.S.C. § 6c(a)
16. Forced Wash Sales. United States Code expressly prohibits and makes it unlawful
for any person to offer to enter into, or to confirm the execution of, any transaction
involving any commodity which is of the character of a meretricious transactions or is
commonly known to the trade as a “wash sale,” or which may be used for determining
the price basis of any such transaction in interstate commerce, in any commodity or the
products or by-products thereof, or to deliver such commodity sold, shipped, or received
in interstate commerce for the fulfillment of; (1) a “wash sale” or “fictitious sale,” or (2)
causing a price to be reported, registered, or recorded which is not a true and bona fide
price. (7 U.S.C. § 6c(a)) ln this case, Plaintiff placed stop loss orders using Form 3905 in
the spot cash market for bills manufactured by the Treasury on the business days or
transaction dates listed in Paragraph 12 above. (R.) Even so, Defendant has knowingly or
willfully deceived or attempted to deceive Plaintiff by any means whatsoever in regard to
the orders contracts or instructions on Form 3905 for the disposition or execution of

such orders or contracts by placing said sell orders in the same product and expiration

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month, for the put or call option, at the exact same strike price, with complete disregard
to its acts of agency or fiduciary performed with respect to such contract orders of
Claimant. (See Perdue v. Crocker Nat. Bank, 39 Cal.3d 913, 216 Cal.Rptr. 345, 702 P.2d
503 (1985)) In failing to carry out the specific instructions for the identified T-bills at the
$1,000,000 strike price; Defendant has illegally made, caused to be made, or
accommodated the false reporting or statements of positions physical deliveries and/or
capital gains of Plaintiff by direct or indirect means (7 U.S.C. § 6b; 17 C.F.R. §
240.11Ac1-3; CME Rule 534) The liability of principal BFS/BPD for the acts or conduct
of employees agents or representatives is determinable (7 U.S.C. § 4)
COUNT VI

7 U.S.C. § 13b, 15 U.S.C. §§ 78i, 78j, 17 C.F.R. § 240.10b-1
17. Market Manipulation. The offense of Respondent in manipulating, attempting to
manipulate, or having manipulated the market price of 90-day T-bills in interstate
commerce, for future delivery was committed by causing market prices to artificially go
up or down, by means directed to end or prevent prices from going up or down. (See
General Foods Corp., 6 A.D. 288, (1947), rev’d sub. nom. General Foods Corp. v.
Brannan, (CA 7), 170 F.2d 220) As such, the fictitious $1,000 sideways market prices
reported by Bureau on the Redemption Payment Due Dates shown in the Table in
Paragraph 12, is clearly deceptive because it does not represent the true instructions for
the disposition of the bills thereby exercising discretionary power in such customer’s
account where the customer has not given prior written authorization to run the TRADES
at any price other than instructed on Form 3905. (R.) By publishing or circulating any
communication which reports the transactions as a “purchase” or “sale” of the security at

a quoted bid price or ask price that does not represent the actual bona fide bid price or ask

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price of such security, BFS has attempted to manipulate, or has manipulated the market
price of such bills and has comered, or attempt to comer the T-bill products or by-
products flowing therefrom by knowingly or purposely delivering false, misleading, or
inaccurate crop or market reports or conditions that affect price and such conduct is also
illegal per se. (TX.D.P.A.) Therefore, if the purpose of the markets is to provide a
continuous flow of competitively determined prices for the purpose of guiding the
allocation of resources and facilitating the production, processing, and merchandising of
T-bills by investors then this Court must preserve the functions of price discovery and
risk reduction by implementing damage recovery for Claimant Renobato in this case.

COUNT VII

15 U.S.C. § 1
18. Restraint of Trade. In the open market system of the United States since on or
about August 2017, said owner has unlawfully been locked out of TREASURYD/RECT®
online account access by Defendant thereby preventing and/or disabling participation in
weekly government auctions wherein such T-bills are marketed, sold, and placed in the
hands of the investing public. (See EXHIBITS- Ml & M2 attached hereto.) The chilling
effect of this practice instituted by Respondent is state action that expressly causes the
restraint of the Ml money supply on bank demand deposits (See U.S. v. Aluminum Co. of
Amerz'ca, 148 F.2d 416 (2nd Cir. 1945)) Conspicuously, the Sherman Act forbids any sort
of combination in restraint of trade instituted for the purpose of eliminating competition
by fixing prices and/or limiting production as has been done here by Respondent.

a. Vertical refusal to deal. Defendant has taken a free ride on Plaintiffs TREASURY

D/RECT® Account R-192-092-757 in 2016 and 2017 by refusing to facilitate a public

offering (i.e. holding up Plaintiff’s Form 3905 trade instructions while continuing to

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accept, process and handle other participant’s transaction requests) in the vertical

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T-bill distribution and supply chain, (See 31 C.F.R. Part 357 App. B(J.), and e.g. Town of
Concord v. Boston Edison Co., 915 F.2d 17 (1St Cir.l990), cert. denied, 499 U.S. 931,
111 S.Ct. 1337 (1991)) Clearly, BFS controlling 100% of the TREASURYDIRECT ready
market has an obligation to make a bona fide public distribution at the public offering
price of securities of a public offering, which trade at a premium in the secondary market
whenever such secondary market begins (a “hot issue”), when there is a demand for an
issue as consistent with high standards of commercial honor and just and equitable
principles of trade, whereas the failure to do so leads to an impairment of public
confidence in the government securities business (e.g. NASD Rule IM-2110-1) thereby
undermining the honor of the full faith and credit of the United States backing the value
of the bills (See Rooney v. Inheritance Comm ’n of Kansas, 143 Kan. 143, 53 P.2d 500

b. Price and/or supply squeeze. By forcing Claimant to accept sale prices at the
same (i.e. identical) strike price as the corresponding purchases were made, Defendant
has squeezed Plaintiff and is attempting to eliminate Renobato from participation in the
money supply chain altogether. (See Bonjorno v. Kaiser Alumz'num & Chemical Co. , 752
F.2d 802 (3rd Cir. 1984), cert. denied, 106 S.Ct. 3284 (1986) [price squeeze used to drive
revenues down disabling ability to earn a profit].) Because Respondent’s desire to charge

independent JNR higher prices for the underlying T-bill asset by product than its own

dealers (i.e. Fed) it has destroyed its intrinsic value, as well as the bills exchange feature,

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and threatens to cause injury to all consumers who hold bills- in the form of higher prices
and diminished purchasing power. In doing so, Respondent has squeezed Plaintiff
through inefficiencies in processing, handling, and fulfillment of transaction requests and
has instituted barriers to entry attempting to deter and prevent Washington D.C. outsider
Renobato from coming into the market for government securities (See United States v.
United Shoe Machinery Corp., 110 F.Supp. 295 (D.Mass.1953), affirmed per curiam, 347
U.S. 521, 74 S.Ct. 699 (1954)) Such restraint is illegal not only because it is injurious to
the public, but also because it; (1) deprives the public of the enterprise and talent of
individuals (2) prevents excludes or eliminates competition from the market, and (3)
fosters monopoly in the market for monetary production because Defendant controls all
the facilities electronics equipment, means resources and mechanisms of production
used in execution of government securities transaction requests and fiscal services (See 7
U.S.C. § 9, and U.S. v Electronic Payments Svc ’s Inc., No.94-208 (D.Del. Apr. 21, 1994))

COUNT VIII

15 U.S.C. § 2
19. Monopolizing Trade. By law, the investing public has a statutory right to subscribe
to the capital stock of the United States however, the Bureau of the Fiscal Service has
demonstrated its dominance and market power in the relevant market not only by
controlling prices but also by excluding competition (12 U.S.C. § 283; 15 U.S.C. § 2)

a. Dominant firm. Although Bureau of the Fiscal Service controls the TREASURY
D/RECT® gateway portal and is the dominant firm offering Treasury securities there are
other government securities brokers that sell Treasuries but 100% of those secondary
sales must eventually go through the TREASURYD/RECT® system of the Bureau for

confirmation, execution, and completion of the transaction, In fact, Defendant, because of

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its intermediary position between Treasury and Federal Reserve is able to keep others out
of the field and is considered to be a monopoly here because in its “Access Your Account
» Account Number” page Plaintiff now receives the following threatening message:
“TreasuryDirect is unavailable The following error(s) have occurred: For security
reasons your account cannot be accessed. Please contact us at (844)284-2676.” (See
EXHIBITS- Ml & M2 attached hereto.) Plaintiff called and was connected to a BFS/BPD
employee who would not give their name, refused to consider the facts of Form 3905,
and offered no alternative choices thereby instigating this lawsuit. (R.)

b. Market power. BFS/BPD has repeatedly demonstrated its power to reduce
output (by restricting execution of transaction request), and charge more than a
competitive price for its product(s) (by not providing fiscal services), or stated
differently, Defendant has shown its power to control market prices for Claimant’s T-
bills and exclude Claimant from competition in that marketplace (See United States v.
E.I. du Pont de Nemours & Co., 351 U.S. 377, 76 S.Ct. 994 (1956)) The willful
maintenance of that sort of power here by BFS/BPD as distinguished from improving
economic growth or expanding monetary development is a consequence of historic
accident (See U.S. v. Grinnell Corp., 384 U.S. 563, 86 S.Ct. 1698 (1966)) Obviously
Bureau’s acquisition of market power in this case is not derived from a superior product,
or from business acumen, but rather by happenstance in the governmental structure of
necessity in facilitating the money supply. (R.) Notwithstanding however, and
commensurate with Treasury Auction Reforms included in Pub. L. 103 -202, title II, §
202, Dec. 17, 1993, 107 Stat. 2356, statute provides: (a) for the ability to Submit

Computer Tenders in Treasury Auctions, and also for (b) Prohibition on Favored Players-

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where in general- no government securities broker or government securities dealer may
receive any advantage, favorable treatment, or other benefit in connection with the
purchase upon issuance of securities issued by the Secretary of the Treasury.
Consequently fiscal agent BFS is violating customer protection mandates by eliminating
the ability of Plaintiff to access or participate in public Treasury Auctions and is
interfering with the redemption exchange of such T-bill articles acquired, tendered, and
redeemed while allowing other participants to do so. (See In re Missner (SEC 1996),
FED.SEC. L.REP. CCH 1174,306 [SEC Held: Treasury linked swaption is held a cash-
settled put option on the spread between the price yield of two Treasury securities], but
see Trustman v. Merrill Lynch Pierce Fenner & Smith Inc., (C.D.Cal. Jan. 24 1985),
COMM.FUT.L.REP. 1984-1986, CCH Dec. 1122,490 [T-bond futures trading in
customer’s account were subject to CFTC authority].) Respondent’s position as the
dominant firm (i.e. monopolist) in the market for T-bills coupled with its vertical refusal
to deal (i.e. supply) is therefore against the law. (See Eastman Kodak Co. v. Image
Techm'cal Services, 504 U.S. 451, 112 S.Ct. 2072, 119 L.ed.2d 265 (1992))

c. Monopon power. Because Bureau of the Public Debt can control access to the
government auctions in its TREASURYDIRECT® ready market and also control repurchase
prices on Form 3905 in the relevant market for 90-day T-bills, it has a dangerous
probability of monopolizing such trade In fact Defendant’s dominant market power is so
great, it is sufficient to abscond with the gross means and resources of production (i.e.
investment funds) with regards to the last three 90-day T-bills Renobato purchased, to
wit; issue LQl on 5/22/17, issue LUl on 6/19/17, and issue LY3 on 7/17/17, as if such

acquisitions never occurred, don’t exist, or were hypothetical. (See EXHIBITS Nl , N2 &

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N3 attached hereto.) On these overt illegal acts of BFS/BPD, counsel for defense is
challenged to prove repayments of those issues due on 8/24/ 17 for LQO, due on 9/21/ 17
for LUl, and due 10/19/17 for LY3 to show Respondent is not a flat out thief. (M.P.C.
Art. 223) Thus, Defendant’s conduct here must be scrutinized to balance its 100% market
share of the TREASURY DIRECT platform for T-bills (90-day[13 week], 180 day [26
week], and 360 day [52 week] varieties) for operational efficiency and payment integrity.
COUNT IX
15 U.S.C. § 13

20. Discrimination in Price, Services, or Facilities. The maturity redemption face value
price fixing committed by Bureau in its attempting to control prices is illegal per se under
the Robinson-Patman Act and is also contrary to public policy since physical T-bill
byproducts are a necessary commodity (i.e. security) to the American public. (31 C.F.R.
§ 309.6) Because Defendant is engaged in interstate commerce crossing state lines of
Texas and District of Columbia and other States and has “cornered the market” so to
speak- in its omission to follow the administrative procedures called for in respect of
handling and processing of reverse repurchase agreements of government securities the
dominant single firm Bureau has illegally attempted to raise prices and restrict output of
Treasury bills (31 U.S.C. §§ 3121(c), 3333(b)) In other words, Respondent is guilty of
fixing the exchange redemption payments in a freely floating spot market by
discretionarin selecting the face value for corpus components in short swing trades in
contrivance of Claimant’s instructions for the position upon maturity as described herein
and before (See e.g. United States v. Terminal R.R. Ass ’n, 224 U.S. 383 (1912))

a. Secondary line price discrimination. By executing sales or repurchases of

Renobato’s T-bills at prices different than requested on Form 3905 Defendant has

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demonstrated a discriminatory pricing policy as between the instant TREASURY DlRECT®
customer in the original issue T-bill market and other bidders for such T-bill products or
by-products. The Defendant’s unjustified conduct in favoring purchasers that produce a
lower rate of retum, or who do not make any transaction requests whatsoever, put
Plaintiff (a SGES player in the weekly billion dollar market for 90-day T-bills) at a
competitive disadvantage has cost Plaintiff business (i.e. lost profit margins), and does
not permit any consumer choice Defendant’s lower[sic] (i.e. from top to bottom on
contract Form 3905) priced sales or repurchases to any of Defendant’s established
customers yields imperfect competition through its price fixing and must be corrected.
(See e.g. J. Truett Payne Co. v. Chrysler Motors Corp., 451 U.S. 557, 101 S.Ct. 1923
(1981), on remand, 670 F.2d 575 (Sth Cir.), rehearing denied, 677 F.2d. 117 (11th Cir.),
cert. denied, 459 U.S. 908, 103 S.Ct. 212 (1982), J.F. Feeser Inc. v. Serv-A-portion Inc.,
909 F.2d 1524 (3rd Cir.1990), cert. denied, 499 U.S. 921, 111 S.Ct. 1313 (1991), Edward
J. Sweeney & Sons Inc. v. Texaco Inc., 637 F.2d 105 (3rd Cir.l980), cert. denied, 451 U.S.
911, 101 S.Ct. 1981 (1981), and U.S. v. Philadelphia Nat. Bank, 374 U.S. 321 (1963))

b. Essential facility. As a general matter a firm is best off when it serves every
customer able to pay. (See e.g. Weiss v. York Hosp., 745 F.2d 786 (3rd Cir.l984), cert.
denied, 470 U.S. 1060, 105 S.Ct. 1777 (1985)) Here, Respondent is a single firm that

controls the facility consisting of network structure11 giving access to the T-bill IPO

‘ Admittedly, Defendant’s website reads:
“You are accessing a U.S. Govemment information system (which includes computers computer networks
and all devices and storage media attached to a Treasury network or to a computer on such network) that is
provided for U.S. Govemment-authorized use only. By using this system, you understand and consent that
there is no reasonable expectation of privacy regarding any communications or information transiting,
stored on, or traveling to or from this system. The government routinely monitors and may, for any lawful
government purpose, intercept, search, and seize any communication or information transiting, stored on,
or traveling to or from this information system and such information may be disclosed or used for any
lawful government purpose.” (See www.treasurydirect.gov)

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market. Because it is owned by the government, BFS/BPD qualifies as an essential
facility because it actually defines and makes up the relevant market. lts unreasonable
refusal to share the ability to make denominational exchanges is conduct that has resulted
in anti-competitive effects on pecuniary imput that is crucial to production of secondary
bill products stimulating the national economy, and is exclusionary to independent
individual participants (See e.g. Hecht v. Pro-Football, 570 F.2d 982 (D.C.Cir.1977),
cert. denied, 436 U.S. 956, 98 S.Ct. 3069 (1978), United States v. AT&T, 552 F.Supp. 131
(D.D.C.1982), affirmed mem. sub nom. Maryland v. United States, 460 U.S. 1001, 103
S.Ct. 1240 (1983); United States v. AT&T, 524 F.Supp 1336 (D.D.C.1981), and Otter
Tail Power v. United States, 410 U.S. 366, 93 S.Ct. 1022, rehearing denied, 411 U.S.
910, 93 S.Ct. 1523 (1973)) Leaving Defendant’s dispayed predatory practices unchecked
threatens higher prices reduces output of bills destroys purchasing power of the bills
and threatens to perpetuate monopoly power already held by Defendant and will only
serve to politicize access to open markets and stifle free trade (See also F lip Side
Productz`ons Inc. v. Jam Productions Ltd., 843 F.2d 1024 (7th Cir.), cert. denied, 488 U.S.
909, 109 S.Ct. 261 (1988), General Accounting Office, Payments Clearance and
Settlement: A Gul`de to the Systems, Risks, and Issues, GAO/GGD-97-73 (June 1997))

c. Restricted bill output. Because Defendant has restricted the output of T-bill
products or by-products of like grade and quality at a rate insufficient to meet the public
demand or to settle TRADES it has discriminated in the facilities and services of fiscal
production and bill manufacture At play, are substantial economies of scale- increasing
price per unit costs of underlying physical bill assets and overlying bill option output

decreases in addition to marginal cost differences between hard money (i.e. physical

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bills) and soft money (i.e. electronic funds transfers) payment options that can be freely
initiated at different prices provides the security features recognized and appreciated by
consumers (See AA Poultry Farms v. Rose Acre Farms, 881 F.2d 1396, (7th Cir.l989),
cert. denied, 494 U.S. 1019, 110 S.Ct. 1326 (1990), American Column & Lumber Co. v.
United States, 257 U.S. 377, 42 S.Ct. 114 (1921), Klor ’s Inc. v. Broadway-Hale Stores
Inc., 359 U.S. 207, 79 S.Ct. 705 (1959), Appalachian Coals Inc. v. United States, 288
U.S. 344, 53 S.Ct. 471 (1933), Almeda Mall v. Houston Light & Power Co., 615 F.2d 343
(5th Cir.l980), and United States v. Reading Co., 253 U.S. 26, 40 S.Ct. 425, 64 L.Ed. 760)
COUNT X
18 U.S.C. Ch. 31, M.P.C. Art. 223 et seq.

21. False Pretenses. In its significant involvement as a securities intermediary in the
domestic money supply chain, Defendant has authorized the unreasonable taking of 3 of
Plaintiff’s 90-day T-bills, or has unlawfully exercised control over, moveable property of
Plaintiff with the purpose to deprive Plaintiff thereof. (See U.S. CONST. amend. V,
amend. XIV § l, M.P.C. Art. 223.8, Burton v. Wilmington ParkingAuthorily, 365 U.S.
715, 81 S.Ct. 856, 6 L.Ed.2d 45 (1961), Bergman v. People, 177 Ill. 244, 52 N.E. 363
(1898), Rex v. Sullens, 168 Eng. Rep. 1212 (Cr.Cas.Res.1826), Ennis v. State, 13
Okla.Crim. 675, 167 P. 229 (1917), State v. Harrison, 347 Mo. 1230, 152 S.W.2d 161
(1941), and State v. Comer, 176 Wash. 257, 28 P.2d 1027 (1934))

a. Claimant’s property. The personal property in this count refers to Plaintiffs
90-day T-bills made or being made under contract with the United States as identified by
CUSIP 912796LQO acquired 5/22/17, 912796LU1 acquired 6/19/17, and 912796LY3

acquired 7/17/17. (See EXHIBITS Nl, N2, & N3 attached hereto.) Such 90-day T~bill

properties have title registered to Renobato individually. (Restatement, Second, Trusts §2)

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b. Govemment custodian. Bureau of the Fiscal Service is the securities
intermediary inside the Department of the Treasury entrusted with safekeeping,
possession, and fiduciary control of Plaintiff` s financial bill instruments LQO, LUl, and
LY3 acquired through its TREASURYD/RECT® website, and purposely went on to steal such
property (valued at more than $500 each) upon repurchase agreement Redemption
Payment Due Dates 8/24/17, 9/21/17, 10/19/17, while being subject to known legal
obligations to make specified payment or other disposition thereof. (See M.P.C. §
223.1(2)(a), and EXHIBITS Ol, 02, & 03 attached hereto.)

c. Required disposition. The highest value, by the reasonable commodity
industry standardized $1,000,000 contract size strike price, of the LQO, LUl, and LY3 T-
bills that were also requested denominationally exchanged using Form 3905 totals
$3,000,000 in aggregate (M.P.C. § 223.1(2)(c); 31 C.F.R. §§ 306.15, 309.3)

d. Permanent deprivation. Because BFS has knowingly, purposely, recklessly,
or negligently failed to make any payment (i.e. repurchase) whatsoever, much less
disposition (i.e. sale) of T-bills 912796LQO due 8/24/17, 912796LU1 due 9/21/17, and
912796LY3 due 10/19/17, it has permanently deprived Plaintiff of such identified property
then and there, and in doing so did then and there falsify accounting records and make
false statements in the process (18 U.S.C. § 1001) As such, Defendant has not only
defaulted on paying the part redemption price of the bills but has also concealed
accounting for actual disposition of said T-bills upon lawful demand, (See Hoovel v.
State, 125 Tex.Cr.R. 545, 69 S.W.2d 104, Werner v. Southern Cal. Associated
Newspapers, Cal.App., 206 P.2d 952, Remm v. Landrieu, D.C.La., 418 F.Supp. 542, and
see EXHIBITS- Pl & P2 attached hereto.)
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DAMAGES
22. Add Derivative Shareholder Application for Lost Profits. Because of the unlawfiil
acts committed by Respondent described herein, Plaintiff has suffered direct economic
injuries and property damage, not to mention the irreparable injury Respondent has
caused to the free trade and open market economic system of the United States of
America through its dishonorable conduct. (R.) Whether the damage in this section is
construed to be lost profits or stolen, destroyed, mutilated, or defaced Treasury
obligations the instant stakeholder in U.S. Treasuries has the legal right to proceed either
directly under antitrust laws or indirectly as Plaintiff held capital stock of the United
States at the time of the transactions of which Plaintiff complains of, and has made efforts
to obtain the action prosecution desires by filing Form 1025 Claim report for 2016 TRADES
with officials at Bureau of the Fiscal Service in May 2017. (See e.g. FED.R. CIV.P. Rule
23.1, EXHIBITS Pl & P2 attached, see also Procter & Gamble Co. v. Bankers T rust Co.
(SD Ohio 1996), FED.SEC.L.REP. 1996-1997, CCH Dec. 1199,229, and Storey Parchment
Co. v. Paterson Parchment Paper Co., 282 U.S. 555, 51 S.Ct. 248, 75 L.Ed 544)
23. Actual Money Damages. A private right of action for actual money damages and
assessment of money penalties are available at law and sought hereby. (See 7 U.S.C. §§
9, 25, and see also Ingram v. J Ray McDermott & Co. Inc., 698 F.2d 1295 (5th Cir.)) In
this particular instance, the actual amount of money damages resulting from transacting
23 duly requested denominational exchange STRIPS TRADES instructions on Form 3905
at the standardized $1,000,000 contract size is $22,977,000 in total or $999,000 per
transaction. (See EXHIBITS- J 1 & J2 attached.) Punitive damages are also mathematically

ascertainable (See 15 U.S.C. § 15, and Harrison, The Lost Pro/its Measure of Damages

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in Price Enhancement Cases, 64 Minn.L.Rev. 751 (1980))
24. Opportunity Cost. Given that the government Treasury auctions are conducted on a
weekly schedule, it is commercially possible and entirely plausible that Claimant could
have increased the frequency of purchasing 90-day Treasury bills to coincide therewith,
and would have participated in 52 auctions and transacted 52 STRIPS TRADES of the sort
illustrated herein, and over a two-year time period execute 104 trades With the profit
maximizing $1,000,000 valuation or pricing model for the 90-day T-bill issues presented
by beneficial owner Renobato as applied to foreseeable futures using a weekly settlement
cycle Plaintiff would gain over $250,000,000 in a five year period. Consequently,
prosecution will request an expected $1,000,000,000 amount in gross damages paid in the
form of a zero cost electronic funds transfer (‘EFT’) or marginal cost exchange of futures
for physicals (‘EFP’) in redressing commercial injury stemming from the deadweight loss
caused by the illegal trade restriction of the Bureau’s market power monopoly in the 90-
day T-bill trade routed through TREASURYD/RECT® ready market. As if paying down that
part of the debt owed to U.S. citizens is somehow detrimental to the national economy,
which of course it is not. Accordingly, for the purpose of the antitrust laws to increase
consumer choice, lower prices and assist competition, and also for the reasons cited
above, Plaintiff DEMANDS Judgment for affirmative legal relief forthwith. (See Doctor ’s
Hosp. of Jejj”erson Inc. v. Southeast Medical Alliance Inc., 123 F.3d 301 (5th Cir. 1997))
CONCLUSION
25. Malfeasant Recidivist Monopolist Actor. Having shown Defendant’s; (1) violation
of the antitrust laws (2) cognizable injury attributed to such violations and (3) at least an

approximate amount of damages the only conclusion to draw from the applicable law,

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documented facts and physical evidence is that Bureau of the Fiscal Service appears
unable to abide by high standards of commercial honor and just and equitable principles
of trade by neglecting its fiscal duties and failing to execute transactions after issue, but
rather has succumb to illicit partisan desires to retaliate against Claimant by illegally
preventing participation in the relevant market and has resorted to criminal conduct in
peculating the means and resource of production from Plaintiff. (See e.g. Malcom v.
Marathon Oil Co., 642 F.2d 845 (Sth Cir.l981), Anago Inc. v. Tecnol Medical Products
lnc., 976 F.2d 248 (Sth Cir.1992), and St. Bernard General Hospital Inc v. Hospital
Service Association of New Orleans Inc., 712 F.2d 978 (5"‘ Cir. 1983)) As such this court
must act decisively against escheating scofflaw Respondent Bureau of the Fiscal Service
PRAYER
26, Positive Derivative Case Valuation. WHEREFORE AND FOR THE FOREGOING
reasons Plaintiff prays for relief in the form of an ORDER executed in favor of Plaintiff
GRANTING Claimant’s supplication for capital relief as afforded under applicable laws
(7 U.S.C. § 25; 15 U.S.C. § 15(a); 31 U.S.C. § 3125), by enforcing due payment of
obligations and interest on the public debt (31 U.S.C. § 3123), as viable remedies (31
C.F.R. § 356.34) for Bureau of the Fiscal Service breaking the federal antitrust laws (See
Cohen v. De La Cruz, 523 U.S. 213 (1998), and Texas Indus. V. Radcli/j‘Materials Inc.,
451 U.S. 630 (1981)) ln effecting such ORDER the Court is addressing Defendant’s
irreparable injury to competition by preserving elemental market hinctions of price
discovery and risk reduction, while upholding the sanctity of contracts protecting
customer funds balances and securities ( 17 C.F.R. § 149.15c3-3, 17 C.F.R. Part 403),

protecting free enterprise and resisting any improper political influence to retaliate

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against such eyewitness for capitalizing and participating in the monetary supply system
of the United States of America.
SIGNED AND DATED this 2_7_th day of December 2017.

Respectfully submitted,
JNRenobato

q N¢t/Qiz%t/

JNRf

RENOBATO & ASSOCIATES

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By:

 

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